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UNITED STATES DISTRICT CoURT Wiscor"§if§°k»__a$tm
EASTERN DISTRICT oF WISCoNsIN

 

 

 

 

 

 

GREEN BAY DIVISIoN MAR 2 1 2019
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Stepne~n C. D,ries, Cle.rk
Brian G. Heyer
Plaz'nz‘iff

Case No. l:l9-cV-00015-WCG
v.

Chief Judge William C. Griesbach
EXPERIAN INFORMATION

SOLUTIONS, INC.; TRANS UNION

LLC; EQUIFAX, INC.; EQUIFAX

INFORMATION SERVICES LLC
Defena'ants

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PLAINTIFF S MOTION TO STRIKE DEFENDANT TRANS UNION’S AFFIRMATIVE
DEFENSES AND MEMORANDUM IN SUPPORT

Plaintiff hereby moves this Court pursuant to F.R.C.P. lZ(f) to strike Defendant Trans Union LLC'S
(Trans Union) Aiiirmative Defenses numbered One through Nine on the grounds that they are

insufficient as they fail to state legal or factual defenses

MEMORANDUM
Plaintiff filed this lawsuit on January 8, 2019. On March 8, 2019 Defendant Trans Union filed an

Answer and Affirmative Defenses to Plaintiffs Original Complaint.

STANDARD OF REVIEW
Rule lZ(t} provides that the court may strike from a pleading an insufficient defense or any
redundant, immaterial, impertinent, or scandalous matter, upon a party’s motion or sua sponte. Fed. R.

Civ. P. lZ(f). [B]ecause striking a portion of a pleading is a drastic remedy, and because it often is

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sought by the movant simply as a dilatory tactic, motions under Rule 12(f) are viewed with disfavor
and are infrequently granted F.D.I.C. v. Niblo, 821 F. Supp. 441, 449 (N.D. TeX. 1993) The Rule
applies to complaints as well as affirmative defensesl Woodjield v. Bowman, 193 F.3d 354, 362 (5th Cir.
1999). Wooa’fzeld also articulated two additional points. First, a “fair notice” standard for pleading
affirmative defenses Which require enough specificity so that Plaintiff is not a victim of unfair surprise.
Second, a “boilerplate” defense pleading is not sufficient under Federal Rule of Civil Procedure (8)(c).

The purpose of a motion to strike under Rule 12(f) is to test the legal validity of a defense. The
motion to strike should be granted only if the insufficiency of the defense is clearly apparent See
Cipollone v. Liggett Group, Inc., 789 F.2d 181, 188 (3d Cir. 1986). Therefore, to prevail on a motion to
strike an insufficient defense, a plaintiff must show that there is no issue of fact that might allow the
defense to succeed, nor any substantial question of law. See EEOC v. Bay Rz`dge Toyoz‘a, ]nc. , 327 F.
Supp. 2d 167, 170 (E.D.N.Y. 2004).

ANALYSIS AND ARGUMENT

First Defense. “Plaintiff` has failed to state a claim against Trans Union upon which relief may be
granted.”

This First Defense is insufficient and unspecific boilerplate. Plaintiff‘s Complaint has specifically
described the willful failure of Trans Union to provide the full consumer file disclosure as required by
the plain text and intent of 15 U.S.C. § 1681g(a)(l). Plaintiff has established a non-negligible
probability that the claim is valid. In re Text Messagz'ng Antitrust Litigation 630 F.3d 622 (7th Cir.
2010), affd 782 F.3d 867, 869 (7th Cir. 2015).

The only “negligible” part of this action is the probability that, despite the Defendant boasting of
collecting and selling “actionable” information on over one billion people which does not appear on
“credit reports” - such as healthcare and computer usage -, the Plaintiff is miraculously not among
that billion.

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Second Defense. “Trans Union’s reports concerning Plaintiff were substantially true.”

This is not a valid affirmative defense, and it has no basis whatsoever in light of the claims made.
Plaintiff clearly states in his Complaint that his claims are based on Trans Union's failure to comply
with 15 U.S.C. § 1681 g(a)(l) by not providing his full consumer file disclosure after Mlt_i@e_ proper
and §p_ec_ific written requests for it. Plaintiff makes no claims whatsoever about the accuracy of
information that was allegedly furnished to any other parties. This defense has no merit or relevance to
the claims made and should be stricken.

Third Defense. “Trans Union has at all times followed reasonable procedures to assure maximum
possible accuracy of its credit reports concerning Plaintiff.”

This defense is frivolous boilerplate and unrelated to the complaint This action involves neither
any request for a “credit report” nor the accuracy of information therein. [Doc 1, 11 45-47.]

Fourth Defense. “At all relevant times, Trans Union acted within the absolute and qualified
privileges afforded it under the FCRA, the United States Constitution, applicable State Constitutions
and the common law.”

This defense is conclusory, lacks specificity, and it plainly does not meet the “fair notice” grounds
of Woodjield.

Fifth Defense. “Plaintiff’s claims are barred, in whole, or in part, by the equitable theories of
estoppel, waiver and laches.”

Defendant asserts this With no facts in support. Plaintiff brought his claim Within the statute of
limitations for the Defendant's violations which occurred by their willful failure to provide the full
consumer file disclosure “A defense should be struck when it is clearly irrelevant and frivolous and its
removal from the case would avoid Wasting unnecessary time and money litigating the invalid
defense.” S.E.C. v. Elec. Warehouse, Inc., 689 F. Supp. 53, 73 (D. Conn. 1988), aff‘d, 891 F.2d 457 (2d

Cir. 1989). Fuithermore, broad affirmative defenses such as waiver, estoppel, or unclean hands may be

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stricken where these defenses are alleged in conclusory fashion without any factual basis, thereby
depriving plaintiff a fair notice of the grounds upon which the defense rests. See Qarbon.com, lnc. v.
eHelp Corp., 315 F. Supp. 2d 1046, 1049-50 (N.D. Cal. 2004). This affirmative defense is insufficient
to meet the "fair notice" standard under Wooa'jield as well and should be stricken.

Sixth Defense. “Plaintiff has failed to take reasonable steps to mitigate his damages, if any.”

Failure to mitigate is not a defense to an award of statutory damages This is not a valid affirmative
defense given the claims made and should be stricken, because it has no basis in law or in any
recognized legal theory. Plaintiff clearly articulated his efforts to mitigate damages when he sent his
second and final request for his full consumer file disclosure after Trans Union failed to properly
respond to his first request Each request was sent via certified mail, return receipt requested

Seventh Defense. “Plaintiff’s damages are the result of acts or omissions committed by Plaintiff.”

Defendant once again brings a defense in a conclusory fashion and fails to describe any alleged
conduct by Plaintiff that could possibly under any conceivable set of circumstances have caused the
damages suffered by him. “A defense should be struck When it is clearly irrelevant and frivolous and
its removal from the case would avoid wasting unnecessary time and money litigating the invalid
defense.” S.E.C. v. Elec. Warehouse, Inc., 689 F. Supp. 53, 73 (D. Conn. 1988), affd, 891 F.2d 457 (2d
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Corp., 315 F. Supp. 2d 1046, 1049-50 (N.D. Cal. 2004). This affirmative defense is insufficient to meet
the "fair notice" standard under Woodfield as well and should be stricken.

Eighth Defense. “Plaintiff’s damages are the result of acts or omissions committed by the other
parties over whom Trans Union has no responsibility or control.”

This Defense establishes the benchmark for frivolity. The only other party involved in these events

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between the Plaintiff and Defendant is the United States Postal Service (USPS), and even then solely in
their duties to transport documents between the Plaintiff and Defendant. lt is an abuse of civic order for
a corporation as invasive as the Defendant is to assert that Plaintiff acted negligently bu using the
USPS in order to make information requests authorized by statute. “A defense should be struck when
it is clearly irrelevant and frivolous and its removal from the case would avoid wasting unnecessary
time and money litigating the invalid defense.” S.E.C. v. Elec. Warehouse, Inc., 689 F. Supp. 53, 73 (D.
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factual basis, thereby depriving plaintiff a fair notice of the grounds upon which the defense rests. See
Qarbon.com, Inc. v. eHelp Corp., 315 F. Supp. 2d 1046, 1049-50 (N.D. Cal. 2004). This affirmative
defense is insufficient to meet the "fair notice" standard under Woodfzeld as well and should be stricken.

Ninth Defense. “Plaintiff’s damages are the result of acts or omissions committed by non-parties to
this action over whom Trans Union has no responsibility or control.”

By trying to distinguish “other parties” in the Eighth Defense and “non-parties to this action” with
the Ninth Defense, Trans Union seems to try to throw the other Consumer Reporting Agencies (e.g.
Equifax Inc, Equifax lnformation Services LLC, and Experian Information Solutions Inc.) right under
the bus.

The only other party involved in these events between the Plaintiff and Trans Union is the United
States Postal Service (USPS), and even then solely in their duties to transport documents between the
Plaintiff and Defendant “A defense should be struck when it is clearly irrelevant and frivolous and its
removal from the case would avoid wasting unnecessary time and money litigating the invalid
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plaintiff a fair notice of the grounds upon which the defense rests. See Qarbon.com, Inc. v. eHelp
Corp., 315 F. Supp. 2d 1046, 1049-50 (N.D. Cal. 2004). This affirmative defense is insufficient to meet

the "fair notice" standard under Woodfield as Well and should be stricken.

CONCLUSION
WHEREFORE, for the reasons stated above, Plaintiff requests this Honorable Court strike
Defendantas Affirmative Defenses numbers One through Nine and for any other relief this Court deems

just and proper.

Respectfully submitted,

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CERTIFICATE OF SERVICE

The undersigned certifies that a true cope of the foregoing was served on the following parties via

First Class, U.S. Mail, postage prepaid, on March 20, 2019.

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Dated March 20, 2019

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